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 1          I, Joseph N. Akrotirianakis, declare as follows:
 2          1.     I am a member of the California State Bar and the bar of this court. I am a partner

 3 in the law firm of King & Spalding LLP and lead counsel to NSO Group Technologies Limited

 4 and Q Cyber Technologies Limited (collectively “NSO” or “Defendants”) in this action. I have

 5 personal knowledge of the facts set forth herein and, except as otherwise stated, could testify

 6 competently to each fact herein.

 7          2.     Attached hereto as Exhibit G is a copy of excerpts from the transcript of the

 8 deposition of Terrence DiVittorio, taken September 18, 2024, in this action.

 9          3.     Attached hereto as Exhibit H is a copy of excerpts from the transcript of the

10 deposition of Yaron Shohat, taken August 29, 2024, in this action.

11          4.     Attached hereto as Exhibit I is a copy of excerpts from the transcript of the

12 deposition of Tamir Gazneli, taken September 4, 2024, in this action.

13          5.     Attached hereto as Exhibit J is a copy of excerpts from the transcript of the

14 deposition of Joshua Shaner, taken September 17, 2024, in this action.

15          6.     Attached hereto as Exhibit K is a copy of excerpts from the transcript of the

16 deposition of Andrew Robinson, taken September 19, 2024, in this action.

17          7.     Attached hereto as Exhibit L is a copy of excerpts from the transcript of the

18 deposition of Plaintiffs’ Federal Rule of Civil Procedure 30(b)(6) designee, Claudiu Gheorghe,

19 taken August 16, 2024, in this action.

20          8.     Attached hereto as Exhibit M is a copy of excerpts from the transcript of the

21 deposition of Sarit Bizinsky Gil, taken September 6, 2024, in this action.

22          9.     Attached hereto as Exhibit N is a copy of a document produced in discovery by

23 third party Terrence DiVittorio bearing control number DIVITTORIO_WHATSAPP_00000131.

24 It is                                      for the

25                 to use                                      , signed by

26               It was authenticated by Mr. DiVittorio during his deposition. The relevant testimony

27 can be found in Exhibit G at 300:20-305:3.

28
       DECLARATION OF JOSEPH N.                      1                          Case No. 4:19-cv-07123-PJH
       AKROTIRIANAKIS
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 1            10.     Attached hereto as Exhibit O is a copy of a document produced in discovery by

 2    third party Terrence DiVittorio bearing control number DIVITTORIO_WHATSAPP_00000132.

 3    It is a letter from

 4                                                                     signed by

 5                  It was authenticated by Mr. DiVittorio during his deposition. The relevant testimony

 6    can be found in Exhibit G at 301:2-305:3.

 7            11.     Attached hereto as Exhibit P is a copy of the first four pages from a document

 8    produced in discovery by Plaintiffs bearing control numbers beginning with WA-NSO-00125122.

 9    It is a presentation prepared by

10

11                                                              and which was

12                                                                    It was authenticated by Claudiu

13    Gheorghe during his deposition as Plaintiffs’ 30(b)(6) designee. The relevant testimony can be

14    found in Exhibit L at 38:2-39:7.

15            12.     Attached hereto as Exhibit Q is a copy of a document produced in discovery by

16    Plaintiffs bearing control numbers WA-NSO-00014771–00014772. It is a letter from

17

18                                                 in response to a subpoena issued by Plaintiffs in this

19    action. Exhibit Q shows that with respect to two IP addresses,

20

21                                                                          I have reviewed all of the

22    documents Plaintiffs produced in discovery in this action (1) obtained from Quadranet and (WA-

23    NSO-00014771 through 00014774 and WA-NSO-00100513 through 100522), (2) obtained from

24    365 Online Technology (WA-NSO-00000001 through 00000120), and (3) obtained from

25    Greencloud, which appears from Exhibit Q                                               (WA-NSO-

26    00013227 through 00013346). None of these documents indicate any relationship between any of

27    these companies and Defendants, and none of these documents even mentions Defendants.

28
       DECLARATION OF JOSEPH N.                        2                       Case No. 4:19-cv-07123-PJH
       AKROTIRIANAKIS
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 1                    Attached hereto as Exhibit R is a copy of a document Plaintiffs produced in bearing

 2    control number WA-NSO-00166630. This record of a regularly conducted activity is titled

 3                                                                                        and comprises

 4                                                                                    In describing the

 5 vulnerability that is the subject of this litigation,

 6                 that                                                        demonstrating Plaintiffs’

 7 knowledge that government customers, not Defendants themselves, use Pegasus operationally.

 8           14.      Attached hereto as Exhibit S is a copy of a document Plaintiffs produced in

 9 discovery bearing control numbers WA-NSO-00116568–00116569. This record of a regularly

10 recorded activity contains a “task,” created September 4, 2018, with the description

11                                                demonstrating Plaintiffs’ knowledge that government

12 customers, not Defendants themselves, use Pegasus operationally.

13           15.      Attached hereto as Exhibit T is a copy of a document Plaintiffs produced in

14 discovery bearing control number WA-NSO-00116570. This record of a regularly recorded

15 activity contains a task, created September 4, 2018, with the description

16                                                demonstrating Plaintiffs’ knowledge that government

17 customers, not Defendants themselves, use Pegasus operationally.

18           16.      Attached hereto as Exhibit U is a copy of a document Plaintiffs produced in

19 discovery bearing control numbers WA-NSO-00116572–00116573. This record of a regularly

20 recorded activity contains a task, created September 4, 2018, with the description

21                                                demonstrating Plaintiffs’ knowledge that government

22 customers, not Defendants themselves, operateDefendants’ technologies.

23           17.      Attached hereto as Exhibit V is a copy of a document Plaintiffs produced in

24 discovery bearing control numbers WA-NSO-00116717–00116718. This record of a regularly

25 recorded activity contains a task, created September 4, 2018, with the description

26                                                demonstrating Plaintiffs’ knowledge that government

27 customers, not Defendants themselves, use Pegasus operationally.

28
       DECLARATION OF JOSEPH N.                        3                        Case No. 4:19-cv-07123-PJH
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 1           18.       Attached hereto as Exhibit W is a copy of a document produced in discovery by

 2    Plaintiffs bearing control numbers WA-NSO-00053824-00053828.              This document contains

 3    messages sent among a group of WhatsApp and Facebook engineers. It includes the message from

 4    Michael Scott:

 5                                                                                        Plaintiffs have

 6    subsequently acknowledged that the

 7

 8

 9           I declare under penalty of perjury that the foregoing is true and correct. Executed this 27th

10 day of September 2024, in Los Angeles, California.

11
                                       /s/ Joseph N. Akrotirianakis
12                                    JOSEPH N. AKROTIRIANAKIS
13

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28
       DECLARATION OF JOSEPH N.                        4                        Case No. 4:19-cv-07123-PJH
       AKROTIRIANAKIS
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                     Exhibit G
      REDACTED VERSION OF DOCUMENT PROPOSED
                   TO BE FILED UNDER SEAL
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                     Exhibit H
      REDACTED VERSION OF DOCUMENT PROPOSED
                   TO BE FILED UNDER SEAL
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                         Exhibit I
      REDACTED VERSION OF DOCUMENT PROPOSED
                   TO BE FILED UNDER SEAL
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                         Exhibit J
      REDACTED VERSION OF DOCUMENT PROPOSED
                   TO BE FILED UNDER SEAL
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                         Exhibit K
       REDACTED VERSION OF DOCUMENT PROPOSED
                   TO BE FILED UNDER SEAL
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                         Exhibit L
       REDACTED VERSION OF DOCUMENT PROPOSED
                   TO BE FILED UNDER SEAL
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                     Exhibit M
       REDACTED VERSION OF DOCUMENT PROPOSED
                   TO BE FILED UNDER SEAL
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                         Exhibit N
       REDACTED VERSION OF DOCUMENT PROPOSED
                   TO BE FILED UNDER SEAL
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                         Exhibit O
       REDACTED VERSION OF DOCUMENT PROPOSED
                   TO BE FILED UNDER SEAL
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                         Exhibit P
       REDACTED VERSION OF DOCUMENT PROPOSED
                   TO BE FILED UNDER SEAL
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                         Exhibit Q
       REDACTED VERSION OF DOCUMENT PROPOSED
                   TO BE FILED UNDER SEAL
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                         Exhibit R
       REDACTED VERSION OF DOCUMENT PROPOSED
                   TO BE FILED UNDER SEAL
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                         Exhibit S
       REDACTED VERSION OF DOCUMENT PROPOSED
                   TO BE FILED UNDER SEAL
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                         Exhibit T
       REDACTED VERSION OF DOCUMENT PROPOSED
                   TO BE FILED UNDER SEAL
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                         Exhibit U
       REDACTED VERSION OF DOCUMENT PROPOSED
                   TO BE FILED UNDER SEAL
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                         Exhibit V
       REDACTED VERSION OF DOCUMENT PROPOSED
                   TO BE FILED UNDER SEAL
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                     Exhibit W
       REDACTED VERSION OF DOCUMENT PROPOSED
                   TO BE FILED UNDER SEAL
